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                EXHIBIT 29
                Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 2 of 38




 1                                                            FILED       The Honorable LeRoy McCullough
                                                    2020 FEB 14 01:51 PM
                                                                                    Courtroom 4A, Dept. 32
 2                                                      KING COUNTY Hearing Date: Monday, February 24, 2020
                                                   SUPERIOR COURT CLERK             Without Oral Argument
 3                                                         E-FILED
                                                   CASE #: 17-2-07094-7 KNT
 4

 5

 6
                         IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                                 IN AND FOR THE COUNTY OF KING

 8       CRISANTO MEDINA, a married man; and
         FIRS HOME OWNERS ASSOCIATION, a
 9       domestic nonprofit corporation,
                                                                    Cause No. 17-2-07094-7 KNT
10                                                  Petitioners,
                                                                    MOTION FOR ENTRY OF AN ORDER
11               v.
                                                                    FINDING COMPLIANCE WITH THE
                                                                    COURT’S SEPTEMBER 19, 2018 ORDER
12       CITY OF SEATAC, a Washington municipal
                                                                    TO REMAND FOR MODIFICATION
         corporation; and FIFE MOTEL INC., a
13       domestic corporation, et al.,

14                                                Respondents.

15                                                          MOTION

16              Petitioners Crisanto Medina and Firs Homeowners Association, and Respondents City of

17   SeaTac and Fife Motel, Inc. (collectively the “Parties”) jointly move this Court to find that the Parties

18   have complied with the Court’s September 19, 2018 Order to Remand for Modification1 (“Order to

19   Remand”) dated September 19, 2018 (Dkt. No. 118, pp.7-9). Additionally, the Parties request that

20   the Court enter a final Order referring the Relocation Plan and Appendix2 back to the Parties for

21

22
     1
         The full title of the pleading is Findings of Fact, Conclusions of Law, and Order to Remand for Modification.
23   2
         Although the Appendix is dated May 29, 2019, it was signed by the Parties in January, 2020.
         MOTION FOR ORDER FINDING COMPLIANCE                                         CITY OF SEATAC, LEGAL DEPARTMENT
         WITH THE COURT’S ORDER TO REMAND FOR                                     4800 South 188th Street | SeaTac, WA 98188
24
         MODIFICATION - 1                                                                         Telephone: (206) 973-4640
         Crisanto Medina, et al., v. City of SeaTac, et al.                                        Facsimile: (206) 838-7223
         Cause No. 17-2-07094-7 KNT
            Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 3 of 38




 1   implementation.    This Motion is based upon the files and records herein and the following

 2   Stipulation.

 3                                              STIPULATION

 4          The Parties, by and through their attorneys of record, hereby stipulate to the following:

 5          1.      In accordance with the Order to Remand a copy of the Relocation Plan and its

 6   Appendix was approved by the City of SeaTac Community and Economic Development Director

 7   on January 24, 2020. A copy of the Relocation Plan and Appendix are attached as Exhibits A & B

 8   respectively. A copy of the City’s Certificate of Approval is attached as Exhibit C.

 9          2.      The approved Relocation Plan and Appendix was submitted to the City of SeaTac

10   Hearing Examiner for review, and the Examiner upheld the City of SeaTac Community and

11   Economic Development Director’s approval of the Firs Mobile Home Park Relocation Plan and

12   Appendix. A copy of the Hearing Examiner’s Decision dated January 29, 2020 is attached as

13   Exhibit D.

14          3.      After the Hearing Examiner upheld the approval of the Relocation Plan and

15   Appendix, the Order to Remand required that a copy of the Plan and Appendix be filed with the

16   Court for review and a determination of whether the Parties complied with the Order.

17          4.      The issues in the Land Use Appeal that have been raised pursuant to the Land Use

18   Petition Act, Chapter 36.70C RCW, have been resolved. Therefore, the Parties do not request that

19   the Court continue to retain jurisdiction of this matter.

20          ///

21          ///

22          ///

23
      MOTION FOR ORDER FINDING COMPLIANCE                            CITY OF SEATAC, LEGAL DEPARTMENT
      WITH THE COURT’S ORDER TO REMAND FOR                        4800 South 188th Street | SeaTac, WA 98188
24
      MODIFICATION - 2                                                            Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                           Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
            Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 4 of 38




 1          5.      The Parties request this Court enter a final Order in the form attached hereto as

 2   Exhibit E, finding compliance with the September 19, 2018 Order to Remand, upholding the

 3   Hearing Examiner’s January 29, 2020 decision, and referring the Relocation Plan and Appendix

 4   back to the Parties for implementation.

 5
            DATED this 13th day of February, 2020.
 6

 7    /s/ Mark S. Johnsen
     Mark S. Johnsen, WSBA #28194
 8   Mary Mirante Bartolo, WSBA #20546
     City of SeaTac
 9   Counsel for Respondent, City of SeaTac

10
      /s/ Walter H. Olsen
11   Walter H. Olsen, WSBA #24462
     Olsen Law Firm, PLLC
12   Counsel for Respondent, Fife Motel, Inc.

13
      /s/ Christina Latta Henry
14   Christina L Henry, WSBA# 31273
     Henry & Degraaff, PS
15   Counsel for Petitioner Crisanto Medina

16
      /s/ Vincente Omar Barraza
17   Vicente Omar Barraza, WSBA #43589
     BARRAZA LAW, PLLC
18   Counsel for Petitioner Firs Homeowners Association

19

20

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22

23
      MOTION FOR ORDER FINDING COMPLIANCE                         CITY OF SEATAC, LEGAL DEPARTMENT
      WITH THE COURT’S ORDER TO REMAND FOR                     4800 South 188th Street | SeaTac, WA 98188
24
      MODIFICATION - 3                                                         Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                        Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
            Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 5 of 38




 1                                     CERTIFICATE OF SERVICE

 2          I certify under penalty of perjury under the laws of the State of Washington, I caused the

 3   original of the foregoing document to be electronically filed with the King County Superior Court,

 4   which also served an electronic copies of the foregoing to the following attorneys of record:

 5
        Vicente Omar Barraza, WSBA #43589                         Walter H. Olsen, WSBA #24462
 6            BARRAZA LAW, PLLC                                       Olsen Law Firm, PLLC
            14245-F Ambaum Blvd. SW                                       205 S. Meridian
 7               Burien, WA 98166                                      Puyallup, WA 98371
             Telephone: (206) 933-7861                              Telephone: (253) 200-2288
 8         Email: omar@barrazalaw.com                             Email: walt@olsenlawfirm.com
              Attorneys for Petitioners                       Attorneys for Respondent Fife Motel Inc.
 9
           Christina L. Henry, WSBA#3127
10              Henry & DeGraaff, PS
               787 Maynard Avenue S.
11                Seattle, WA 98104
             Telephone: (206) 330-0595
12         Email: chenry@hdm-legal.com
               Attorneys for Petitioners
13

14   Copies were also delivered to the following parties of record via U.S. Postal Service, first class
     mail, postage pre-paid:
15
                  Janice I. Sylvester                                      Earl Gipson
16           12605 115th Avenue Court E.                               17050 51st Avenue S.
              Puyallup, WA 98374-3183                                 SeaTac, WA 98188-3246
17

18          DATED this 14th day of February, 2020.

19                                                          s/ Ellaine M. Wi
                                                           Ellaine M. Wi, Legal Analyst
20                                                         City of SeaTac, Legal Department
                                                           4800 S. 188th Street
21                                                         SeaTac, WA 98188-8605

22

23
      MOTION FOR ORDER FINDING COMPLIANCE                             CITY OF SEATAC, LEGAL DEPARTMENT
      WITH THE COURT’S ORDER TO REMAND FOR                         4800 South 188th Street | SeaTac, WA 98188
24
      MODIFICATION - 4                                                             Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                            Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
              Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 6 of 38




 1                                                                       The Honorable LeRoy McCullough
                                                                                   Courtroom 4A, Dept. 32
 2                                                                 Hearing Date: Monday, February 24, 2020
                                                                                   Without Oral Argument
 3

 4

 5

 6
                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                              IN AND FOR THE COUNTY OF KING

 8    CRISANTO MEDINA, a married man; and
      FIRS HOME OWNERS ASSOCIATION, a
 9    domestic nonprofit corporation,
                                                               Cause No. 17-2-07094-7 KNT
10                                              Petitioners,
                                                               [PROPOSED] ORDER FINDING
11             v.
                                                               COMPLIANCE WITH THE COURT’S
                                                               SEPTEMBER 19, 2018 ORDER TO
12    CITY OF SEATAC, a Washington municipal
                                                               REMAND FOR MODIFICATION
      corporation; and FIFE MOTEL INC., a
13    domestic corporation, et al.,

14                                            Respondents.

15                                                         ORDER

16            This matter came before the Court on February 14, 2020 on a Joint Motion to Find

17   Compliance with the Court’s September 19, 2018 Order to Remand for Modification.

18            The Court having considered the pleadings filed in this action, including the Stipulation of

19   the Parties Related to Compliance with the Court’s September 19, 2018 Order to Remand for

20   Modification, a copy of the Relocation Plan and its Appendix, the City’s Certificate of Approval

21   dated January 24, 2020, and the Decision of the Hearing Examiner dated January 29, 2020, the Court

22   finds:

23
      ORDER FINDING COMPLIANCE WITH THE                                  CITY OF SEATAC, LEGAL DEPARTMENT
24    COURT’S ORDER TO REMAND FOR                                     4800 South 188th Street | SeaTac, WA 98188
      MODIFICATION - 1                                                                Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                               Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
             Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 7 of 38




 1           1.      The Parties have complied with this Court’s Order dated September 19, 2018.

 2           2.      All issues related to this appeal have been resolved, including matters related to the

 3   collection of rents and the Mobile Home Park closure date, and therefore this LUPA action has been

 4   concluded.

 5           Based upon the above findings, IT IS SO ORDERED:

 6           1.      The Hearing Examiner’s decision upholding the City of SeaTac Community and

 7   Economic Development Director’s approval of the Firs Mobile Home Park Relocation Plan and

 8   Appendix dated January 24, 2020 is AFFIRMED.

 9           2.      The Relocation Plan and Appendix is referred back to the Parties for implementation

10   and the Court's jurisdiction over the issues in the Land Use Appeal that were raised pursuant to the

11   Land Use Petition Act, Chapter 36.70C RCW, and the appeal concerning those issues has concluded.

12           DATED and ENTERED this ________ day of February, 2020.

13

14
                                                           HONORABLE LEROY MCCULLOUGH
15                                                         Superior Court Judge

16   Agreed and approved as to form:

17
      /s/ Mark S. Johnsen
18   Mark S. Johnsen, WSBA #28194
     Mary Mirante Bartolo, WSBA #20546
19   City of SeaTac
     Counsel for Respondent, City of SeaTac
20

21    /s/ Walter H. Olsen
     Walter H. Olsen, WSBA #24462
22   Olsen Law Firm, PLLC
     Counsel for Respondent, Fife Motel, Inc.
23
      ORDER FINDING COMPLIANCE WITH THE                                CITY OF SEATAC, LEGAL DEPARTMENT
24    COURT’S ORDER TO REMAND FOR                                   4800 South 188th Street | SeaTac, WA 98188
      MODIFICATION - 2                                                              Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                             Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
            Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 8 of 38




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                         Exhibit A
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24   EXHIBIT A                                               CITY OF SEATAC, LEGAL DEPARTMENT
     Crisanto Medina, et al., v. City of SeaTac, et al.   4800 South 188th Street | SeaTac, WA 98188
     Cause No. 17-2-07094-7 KNT                                           Telephone: (206) 973-4640
                                                                           Facsimile: (206) 838-7223
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 9 of 38
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Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 11 of 38
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 12 of 38
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Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 24 of 38
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 25 of 38
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           Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 27 of 38




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                         Exhibit B
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24   EXHIBIT B                                               CITY OF SEATAC, LEGAL DEPARTMENT
     Crisanto Medina, et al., v. City of SeaTac, et al.   4800 South 188th Street | SeaTac, WA 98188
     Cause No. 17-2-07094-7 KNT                                           Telephone: (206) 973-4640
                                                                           Facsimile: (206) 838-7223
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 28 of 38
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 29 of 38
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 30 of 38
           Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 31 of 38




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                         Exhibit C
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24   EXHIBIT C                                               CITY OF SEATAC, LEGAL DEPARTMENT
     Crisanto Medina, et al., v. City of SeaTac, et al.   4800 South 188th Street | SeaTac, WA 98188
     Cause No. 17-2-07094-7 KNT                                           Telephone: (206) 973-4640
                                                                           Facsimile: (206) 838-7223
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           Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 33 of 38




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                         Exhibit D
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24   EXHIBIT D                                               CITY OF SEATAC, LEGAL DEPARTMENT
     Crisanto Medina, et al., v. City of SeaTac, et al.   4800 South 188th Street | SeaTac, WA 98188
     Cause No. 17-2-07094-7 KNT                                           Telephone: (206) 973-4640
                                                                           Facsimile: (206) 838-7223
Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 34 of 38
           Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 35 of 38




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                         Exhibit E
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24   EXHIBIT E                                               CITY OF SEATAC, LEGAL DEPARTMENT
     Crisanto Medina, et al., v. City of SeaTac, et al.   4800 South 188th Street | SeaTac, WA 98188
     Cause No. 17-2-07094-7 KNT                                           Telephone: (206) 973-4640
                                                                           Facsimile: (206) 838-7223
              Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 36 of 38




 1                                                                       The Honorable LeRoy McCullough
                                                                                   Courtroom 4A, Dept. 32
 2                                                                 Hearing Date: Monday, February 24, 2020
                                                                                   Without Oral Argument
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 4

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 6
                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                              IN AND FOR THE COUNTY OF KING

 8    CRISANTO MEDINA, a married man; and
      FIRS HOME OWNERS ASSOCIATION, a
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                                                               Cause No. 17-2-07094-7 KNT
10                                              Petitioners,
                                                               [PROPOSED] ORDER FINDING
11             v.
                                                               COMPLIANCE WITH THE COURT’S
                                                               SEPTEMBER 19, 2018 ORDER TO
12    CITY OF SEATAC, a Washington municipal
                                                               REMAND FOR MODIFICATION
      corporation; and FIFE MOTEL INC., a
13    domestic corporation, et al.,

14                                            Respondents.

15                                                         ORDER

16            This matter came before the Court on February 24, 2020 on a Joint Motion to

17   Find Compliance with the Court’s September 19, 2018 Order to Remand for Modification.

18            The Court having considered the pleadings filed in this action, including the Stipulation of

19   the Parties Related to Compliance with the Court’s September 19, 2018 Order to Remand for

20   Modification, a copy of the Relocation Plan and its Appendix, the City’s Certificate of Approval

21   dated January 24, 2020, and the Decision of the Hearing Examiner dated January 29, 2020, the Court

22   finds:

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      MODIFICATION - 1                                                                Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                               Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
            Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 37 of 38




 1           1.      The Parties have complied with this Court’s Order dated September 19, 2018.

 2           2.      All issues related to this appeal have been resolved, including matters related to the

 3   collection of rents and the Mobile Home Park closure date, and therefore this LUPA action has been

 4   concluded.

 5           Based upon the above findings, IT IS SO ORDERED:

 6           1.      The Hearing Examiner’s decision upholding the City of SeaTac Community and

 7   Economic Development Director’s approval of the Firs Mobile Home Park Relocation Plan and

 8   Appendix dated January 24, 2020 is AFFIRMED.

 9           2.      The Relocation Plan and Appendix is referred back to the Parties for implementation

10   and the Court's jurisdiction over the issues in the Land Use Appeal that were raised pursuant to the

11   Land Use Petition Act, Chapter 36.70C RCW, and the appeal concerning those issues has concluded.

12           DATED and ENTERED this ________ day of February, 2020.

13

14
                                                           HONORABLE LEROY MCCULLOUGH
15                                                         Superior Court Judge

16   Agreed and approved as to form:

17
      /s/ Mark S. Johnsen
18   Mark S. Johnsen, WSBA #28194
     Mary Mirante Bartolo, WSBA #20546
19   City of SeaTac
     Counsel for Respondent, City of SeaTac
20

21    /s/ Walter H. Olsen
     Walter H. Olsen, WSBA #24462
22   Olsen Law Firm, PLLC
     Counsel for Respondent, Fife Motel, Inc.
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      ORDER FINDING COMPLIANCE WITH THE                                CITY OF SEATAC, LEGAL DEPARTMENT
24    COURT’S ORDER TO REMAND FOR                                   4800 South 188th Street | SeaTac, WA 98188
      MODIFICATION - 2                                                              Telephone: (206) 973-4640
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      Cause No. 17-2-07094-7 KNT
            Case 2:19-cv-01130-RSL Document 96-29 Filed 03/04/21 Page 38 of 38




 1
      /s/ Christina Latta Henry
 2   Christina L Henry, WSBA# 31273
     Henry & Degraaff, PS
 3   Counsel for Petitioner Crisanto Medina

 4
      /s/ Vincente Omar Barraza
 5   Vicente Omar Barraza, WSBA #43589
     BARRAZA LAW, PLLC
 6   Counsel for Petitioner Firs Homeowners Association

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      ORDER FINDING COMPLIANCE WITH THE                       CITY OF SEATAC, LEGAL DEPARTMENT
24    COURT’S ORDER TO REMAND FOR                          4800 South 188th Street | SeaTac, WA 98188
      MODIFICATION - 3                                                     Telephone: (206) 973-4640
      Crisanto Medina, et al., v. City of SeaTac, et al.                    Facsimile: (206) 838-7223
      Cause No. 17-2-07094-7 KNT
